81 F.3d 160
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Aurora JOSEPH, administratrix of the estate of ArthurJoseph;  Marilyn Bailey, administratrix of theestate of Willard Bailey Plaintiffs-Appellantsv.UNITED STATES of America;  Department of Labor, Mine Safetyand Health Administration Defendants-Appellees
    No. 95-5182.
    United States Court of Appeals, Sixth Circuit.
    March 26, 1996.
    
      Before:  KRUPANSKY, RYAN, and NORRIS, Judges.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      The court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be and it hereby is affirmed.
    
    